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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA


                                                              1:19MjJ30
                                                     )
BRYANT POOLE,
                       Defendant.


                             AFFIDAVIT IN SUPPORT OF A
                        CRIMINAL INFORMATION AND SUMMONS


       I, Investigator Mitchell Kale, being duly sworn, state:

                                        INTRODUCTION


       1. I am an Investigator with the Fort Belvoir Police Department, Fort Belvoir, Virginia,

within the special maritime and territorial jurisdiction ofthe United States, in the Eastern District

of Virginia. I have been employed as an Investigator vrith the United States Army since July of

2018. My responsibilities include investigating violations of United States Federal Statutes and

Virginia state penal codes. I have been trained comprehensively in conducting damage to

Government property investigations.

       2. This affidavit is made in support of a criminal information and summons for the

following defendant, BRYANT POOLE,who on or about January 9, 2019, did unlawfully,

knowingly, and willfully commit the offense of Damage to Government Property within the

maritime and territorial jurisdiction ofthe United States of America,specifically the Fort Belvoir
Community Hospital, River Pavilion, in violation of Title 18, United States Code, Section 1361.
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